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                   IN THE UNTED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF OKLAHOMA


(1) MARY COLBERT and                   )
(2) LARRY COLBERT,                     )
                         Plaintiffs,   )
                                       )
v.                                     )       12-CV-466-JHP
                                       )
UNITED STATES OF AMERICA,              )
                    Defendant.         )


                  JOINT LIST OF DEPOSITION DESIGNATIONS,
                  COUNTER-DESIGNATIONS, AND OBJECTIONS

     I. NEILL TAYLOR, M.D.
           DEFENDANT’S DESIGNATIONS FOR NEILL TAYLOR, M.D.

PAGE        LINE(S)                        OBJECTIONS BY PLAINTIFF
  5           10-15
  7           23-25
  8           24-25
  9           1-16
 10        2-11,15-23
 11           10-25
 12       10-21, 24-25
 13         1-6, 9-12
 14            1-7
 15           8-25
 16        1-12,16-25
 17        1-5, 22-25
 18           1-25
 19           1-11
 20        3-5, 13-16
 23          1-7, 25
 24            1-4
 25           22-25
 26           1-19
 30           15-25
 31         1-4, 7-25
 32         1-3, 9-25
 33           1-15

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34             4-13
39         7-10, 13-25
40           1, 5-25
41             1-25
42              1-7
43          6-7, 16-25
44          1-3, 16-25
45          1-5, 22-25
46              1-2
47            15-25
48             5-24
49         3-10, 22-24
50             2-25         lns. 10-25 – Hearsay, FRE 801-802
51          1-6, 19-25      lns. 1-6 – Hearsay, FRE 801-802
52          1-7, 19-24      lns. 19-24 – Hearsay, FRE 801-802
53        11-12, 15-25
54             1-25
55      1-8, 15-18, 21-25   lns. 21-24 – Nonresponsive to the question.
56      1-8, 11-15, 22-25
57          1-4, 6-25
58      1-9, 20-21, 24-25
59             1-25
60             1-25
61             1-25
62             1-25
63             1-25
64          1-7, 23-25
65             1-18
66             2-25
67             1-25
68             1-18
69          1-4, 7-25
70         1-20, 24-25
71             1-25
72          1-5, 19-25
73        13-15, 18-25
74          1-2, 21-23
75           1-22, 25
76          1-5, 8-20
77        2-4, 7, 12-25     lns. 12-24 – No personal knowledge, FRE 602
78              1-8
79            20-25
80         1-19, 23-25
81           1, 4-12
82            11-25

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 83             1-16
 84          3-6, 10-25
 85         6-10, 18-25
 86         1-13, 17-25
 87             1-12
 91            20-25
 92          1-6, 13-25
 93          1-5, 11-24
 94             5-25
 95         1-12, 15-25
 96          1-6,14-25
 97         1-12, 14-25   lns. 10-25 – Nonresponsive to the question and not relevant FRE
                          401 and 402
99         16-18, 20-25
100             1-2
102           22-25
103            1-25
104             1-2
106           15-25
107            1-25
108            1-25
109            1-25
110            1-25
111         1-4, 6-11
112        17-20, 22-25
113         1-9, 17-25
114        1-13, 17-21
115         4-5, 13-25
116        1-16, 19-25
117            1-25
118         1-9, 12-25
119         1-5, 8-15

             PLAINTIFFS’ DESIGNATIONS FOR NEILL TAYLOR, M.D.

PAGE         LINE(S)                     OBJECTIONS BY DEFENDANT
  5             6-15
  7            23-25
  8          1-6, 24-25
  9              1-5
 12            10-25
 13              1-4
 18         4-11, 15-25
 19           1-11, 25
 20           1-16, 25

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21             1-4
30            15-25
31            1-25
32          1-3, 9-23
35        13-17, 20-25
36             1-3
39        7-10, 13-25
40            1-25
41            1-25
42            1-14
43        6-11, 15-25
44            1-25
45        1-14, 22-25
46             1-2
47            10-25
48            1-25
49        1-12, 15-19
52              25
53        1-12, 15-25
54            1-11
55         3-8, 11-14
57            9-18
58            16-25
59            1-13
63            24-25
64         1-7, 23-25
65            1-18
67            13-25
68            1-13
71            18-25
72         1-8, 11-25
75            8-11
76            8-23
77               1
78            21-25
79             1-5
80            16-25
81         1, 4-21, 25
82         1-4, 17-20
85             1-5
86        6-13, 17-25
87             1-3
92            7-25
93         1-5, 11-24
96            7-25

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97              1
98           10-25
99        1-18, 20-25
100    1-2, 13-21, 23-25
101        1-6, 23-25
102           3-16
104           3-13
105           1-25
106            1-3
108          21-25
109            1-3
110           2-25
111           1-11
112           1-25
113           1-25
114           1-24
115        4-5, 10-25
116            1-3
118            25
119    1-5, 8-15, 21-25
120            1-2
123           2-25
124           1-25
125           1-11

      PLAINTIFFS’ COUNTER-DESIGNATIONS FOR NEILL TAYLOR, M.D.

PAGE        LINE(S)               OBJECTIONS BY PLAINTIFFS
 17           6-13
 20          17-24
 24           5-25
 25           1-21
 33          16-22
 34            1-3
 51        7-9, 13-14
 52           8-18
 58          10-15
 73           1-12
 78           9-20
 85          11-17




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  II. GLEN EDWARD DIACON, M.D.

      DEFENDANT’S DESIGNATIONS FOR GLEN EDWARD DIACON, M.D.

PAGE           LINE(S)                     OBJECTIONS BY PLAINTIFFS
  5               8-23
  6              10-18
  7               4-25
  8              1, 6-9
  9              24-25
 10         1-2, 7-12, 15-17
 18               3-25
 19                1-4
 23            1-6, 9-25
 24              22-25
 25        1-4, 10-11, 16-25
 26               1-25         lns. 1-25 – Character or character trait evidence offered to
                               prove action in accordance with character or character trait
                               FRE 404, Relevance FRE 402
 27              1-25          lns. 1-12 – Character or character trait evidence offered to
                               prove action in accordance with character or character trait
                               FRE 404, Relevance FRE 402
 28           1-12, 19-25
 29               1-5
 30           8-12, 15-25
 31           1-8, 17-25
 32               1-25
 33           1-11, 14-15
 34           7-10, 13-18
 35               6-21
 36           5-8, 13-25
 37           1-3, 11-25
 38              14-25
 39               1-25
 40               1-25
 41               1-23
 42               2-19         lns. 18-19 – Unclear question. Transected could mean cut or
                               separated over time.
 43              15-20
 44               7-25
 46            21-22, 25
 47          10-13, 19-25
 48        1-4, 16-18, 21-22   lns. 16-18 – Compound question. Unclear as to whether
                               question is about two ureters or one ureter.
 49             17-25

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50           1-5, 12-22
51        2-5, 13-15, 17-25
52               1-25
53           1-3, 10-25
54           1-7, 18-25
55           1-6, 10-22
56               2-25
57               1-15
58               4-17
59           5-7, 17-23
60              21-25
61             1, 13-18
62               3-25
63               1-22
64              10-18
65              17-25
66               1-25
67                1-4
68              11-20
69               9-25
70                1-8
72              18-24
74              23-25
75                1-3
83          12-18, 20-25      lns. 20-25 and pg. 84 lns. 1-2 – Not admissible and not
                              discoverable, 12 O.S. §19 A.3. Also, not relevant FRE 401
                              and 402.
84              1-13          See above objection for lines 1-2.
86             17-25          lns. 17-25 – Not admissible and not discoverable, 12 O.S.
                              §19 A.3. Also, not relevant FRE 401 and 402.
87              1-7           lns. 1-7 – Not admissible and not discoverable for any
                              purpose, 12 O.S. §19 A.3. Also, not relevant FRE 401 and
                              402.
88              3-25          lns. 1-25 – Not admissible and not discoverable for any
                              purpose, 12 O.S. §19 A.3. Also, not relevant FRE 401 and
                              402.
89              1-25          lns. 1-25 and pg. 90 ln. 1 - Not admissible and not
                              discoverable for any purpose, 12 O.S. §19 A.3. Also, not
                              relevant FRE 401 and 402.
90             1, 18-25       See above for objection for line 1.
91               1-25
92               1-25
93           1-17, 24-25
94               1-25
95                1-6

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100             22-25
101              1-11
105              6-18
107             22-25
108              1-3

         PLAINTIFFS’ DESIGNATIONS FOR GLEN EDWARD DIACON, M.D.

PAGE           LINE(S)                   OBJECTIONS BY DEFENDANT
  5            1-4, 8-11
  6              19-24        Objection, Hearsay, FRE 801-802; No personal knowledge
                              FRE 602; Foundation FRE 602, 901(a).
 7               1-3          Objection, Hearsay, FRE 801-802; No personal knowledge
                              FRE 602; Foundation FRE 602, 901(a).
 8              10-25         Objection, Hearsay, FRE 801-802; No Foundation FRE 602,
                              901(a); No personal knowledge FRE 602.
 9               1-3          Objection, Hearsay, FRE 801-802; No Foundation FRE 602,
                              901(a); No personal knowledge FRE 602.
 10          13-14, 19-25     Objection, Hearsay, FRE 801-802; No Foundation FRE 602,
                              901(a); No personal knowledge FRE 602.
 11           1-12, 17-25     Objection, Hearsay, FRE 801-802; No Foundation FRE 602,
                              901(a); No personal knowledge FRE 602.
 12              1-25         Objection, Hearsay, FRE 801-802; No Foundation FRE 602,
                              901(a); No personal knowledge FRE 602.
 13              1-24         Objection, Hearsay, FRE 801-802; No Foundation FRE 602,
                              901(a); No personal knowledge FRE 602.
 15            1-2, 7-18
 18               3-25
 19               1-25
 20               1-6
 21               6-25
 22               1-11
 23               7-8
 25               5-7
 27              13-25
 28           1-2, 19-25
 29               1-25
 30               1-25
 31               1-25
 32               1-25
 33               1-25
 34               1-25
 35               1-25
 36              13-19
 38               9-25

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39               1-25
40               1-25
41           1-21, 24-25
42              20-25
43             1, 15-23
44               7-25
46              23-24
47           1-9, 14-18
48           5-15, 19-20
50               6-25
51               1-25
52               1-25
53           1-3, 16-25
54               1-25
55               1-25
56               1-25
57               1-15
58               4-25
59                1-7
61               2-25
62              12-20
63              17-25
64               1-25
65               1-11
66               2-11
68              21-25
69               1-14
70               9-25
71               1-23
72           3-5, 13-25
73               1-14
74              23-25
75               1-25
76               1-25
77               1-25
78               1-25
79               1-25
80               1-25
81               1-14
90               2-25
91               1-25
92               1-25
93               1-23
95              16-25
96               1-25

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 97           1-25
 98           1-25        Objection, Hearsay, FRE 801-802; No Foundation FRE 602,
                          901(a); No personal knowledge FRE 602.
 99           1-25        Objection, Hearsay, FRE 801-802; No Foundation FRE
                          602,901(a); No personal knowledge FRE 602.
100           1-25
101           1-25
102        1-7, 13-25
103        1-10, 14-24    Objection.     Assumes facts not in evidence 611(a).
                          Previously testified didn’t have equipment available at
                          Chickasaw Nation Medical Center; Lack of Foundation 602,
                          901(1).
104           2-25        Objection.     Assumes facts not in evidence 611(a).
                          Previously testified didn’t have equipment available at
                          Chickasaw Nation Medical Center; Lack of Foundation 602,
                          901(1).
105           1-22        Objection. Assumes facts not in evidence; FRE 611(a).
106           1-25        Objection, Hearsay, FRE 801-802; No Foundation FRE 602,
                          901(a); No personal knowledge FRE 602.
107         3-5, 8-24     Objection. Assumes facts not in evidence 611(a); Previously
                          testified equipment not available at Carl Albert.
108           4-7


  III.   MICHAEL L. HALL, M.D.

         PLAINTIFF’S DESIGNATIONS FOR MICHAEL L. HALL, M.D.

PAGE        LINE(S)                   OBJECTIONS BY DEFENDANT
  4           10-12
 14           20-23
 15           15-25
 16        1-5, 17-25
 17            1-11
 108          10-25       Objection. Not a proper Exhibit per Pre Trial Order.
 109           4-25
 110           1-25
 111       1-11, 14-25
 112       1-20, 23-25    Objection. Assumes fact not in evidence FRE 611(a);
                          Foundation lacking FRE 602, 901(a); Leading FRE 611(c).
113         1-3, 6-25     Objection. Assumes fact not in evidence FRE 611(a);
                          Foundation lacking FRE 602, 901(a); Leading FRE 611(c).
114         1-5, 8-25
115           1-25
116         1-3, 6-25

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 117             1-25
 118             1-25
 119           1-6, 9-25      Objection. Assumes facts not in evidence 611 (a); Lack of
                              foundation 602, 901(a).
 120           1-6, 9-24      Objection. Assumes facts not in evidence 611 (a); Lack of
                              foundation 602, 901(a).
 121             1-25
 122           3-4, 7-25
 123             1-25         Objection. Hearsay FRE 801-802; Assumes facts not in
                              evidence FRE 611(a). Speculation.
 124          1-21, 23-25
 125          1-18, 21-25     Objection. Lack of foundation FRE   602, 901(a); Assumes
                              facts not in evidence FRE 611(a).
 126          1-10, 13-25     Objection. Lack of foundation FRE   602, 901(a); Assumes
                              facts not in evidence FRE 611(a).
 127           1-2, 5-25      Objection. Lack of foundation FRE   602, 901(a); Assumes
                              facts not in evidence FRE 611(a).
 128             1-25         Objection. Lack of foundation FRE   602, 901(a); Assumes
                              facts not in evidence FRE 611(a).
 129           1-8, 24-25
 130            1-4, 6-7

DEFENDANT’S DESIGNATIONS FOR MICHAEL L. HALL, M.D.

  4              13-25
  6               3-8
  7                25
  8             1-11, 25
  9           1-2, 14-25
 10           1-2, 17-24
 12              19-25
 13                 1
 14               3-19
 16              13-16
 19              22-25
 21              13-15
 22              14-25
 23               1-19
 27              19-22
 29           9-18, 23-25
 30                 1
 33              20-25
 34               1-3
 35               5-11
 38              19-25

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39             1-10, 14-18
42                14-25
43                 1-14
44         1-6, 14-16, 18-25
45               1, 21-25
46          1-5, 8-16, 20-25
47             1-4, 21-25
48                 1-16
53              2-5, 7-13
55             3-10, 18-22
56             4-15, 18-25
57             1-6, 14-25
58             1-6, 19-25
59             1, 3, 24-25
60              1-4, 6-20
64                 8-13
65                 2-25
66             1-5, 12-25
67               1, 18-25
68             1-8, 18-25
69                 1-21
70                  25
71                  1-2
73                 2-10
74                  6-9
75                 3-25
76                 1-12
79                13-19
80                13-25
81         1-2, 18-20, 24-25
82             1-5, 10-25
86               6-19, 25
87                  1-9
88                 9-22
89                 5-25
90                  1-7
91                 5-24
92                10-25
93      1-5, 11-14, 16-18, 19-25
94             6-10, 24-25
95             1-8, 16-20
96                20-25
97                 6-10
98            12-17, 19-25
99                1, 3-8

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102         14-22
103          6-20
104         20-25
105          1-25
129         12-20
130         11-13

                            Respectfully Submitted,

                            /s/ William W. Speed
                            William W. Speed, OBA# 19031

                            Braly, Braly, Speed & Morris, PLLC
                            201 W. 14th Street
                            P.O. Box 2739
                            Ada, OK 74821-2739
                            Phone: 580-436-0871
                            Fax: 580-436-0889
                            E-mail wspeed@cableone.net

                            ATTORNEY FOR PLAINTIFFS

                            /s/ SUSAN STIDHAM BRANDON
                            SUSAN STIDHAM BRANDON
                            OBA# 12501
                            Assistant United States Attorney
                            1200 West Okmulgee
                            Muskogee, Oklahoma 74401
                            918-684-5112
                            918-684-5130- fax
                            Susan.Brandon@usdoj.gov

                            ATTORNEY FOR DEFENDANT




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                               CERTIFICATE OF SERVICE

       I hereby certify that on the 19th day of February 2014, I electronically transmitted the
foregoing document to the Clerk of the Court using the ECF System for filing and transmittal of
a Notice of Electronic Filing to the following ECF registrants:

       Susan S. Brandon

       Thomas M. Wright



                                                    /s/ William W. Speed
                                                   William W. Speed




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